Case 23-41037-can7                           Doc 22-4 Filed 08/15/23 Entered 08/15/23 11:46:41                                                                         Desc
                                                    Exhibit 4 Page 1 of 2

          Cas e 23-4 1037 -ca n7                 Doc 1 1               Filed 07/3 1/ 23           E nte red 07/3 1/ 23 1 6 :2 8 :2 0                    D e s c M a in
                                                                     D o c u m e nt        Page 1 of 2
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                                                                     U.S. Bank r uptcy Cour t
                                                           Wester n Distr ict of M issour i (K ansas City)
                                                              Bank r uptcy Pet ition #: 23-41037-7
                                                                                                                               Datefi led: 07/31/2023
Assigned to:
Chapter 7
Voluntary
N o asse t




D eb t o r I
                                                                                                             represented by Jessica Lynn Abarca
Jessica Lynn A bar ca                                                                                                              PR O S E
1260 N E US H\\y 69
T R L R #55
L iberty, M O 64068
C L AY-M O
8 16-286-7296
SSN / IT l N : x xx -x x -2265


j^mailAllAttorneys]
 Email All Attorn eys and Additional Recipients |
     Fil ing Date                                                                                           D oc k et T ex t


                                 OIO
 0 7/ 3 1/2 023                   ( I Pg)     Statement About Payment of Eviction Judgment (Form l Ol B). (Donovan, Sydney (ort)) (Entered: 07/31/2023)

                                 Q9
 0 7/ 3 1/ 2 023                    (I pg)    Initial Statement about an Eviction Judgment (Form 101A) (Donovan, Sydney (ert)) (Entered; 07/31/2023)

                                 □ 8          Court's Certificateof Service to JessicaLynn Abarca 1260 NE US H\vy 69 TRLR #55 Liberty, MO 64068 via first-class
                                              U S M ail o n th is 7/ 3 1/ 20 21
                                              (related document(s) 5 Pro Sc Notice - public, 6 Notice of Defi cieney Financial Management Course, 7 OSC
 0 7/ 3 1/ 2 023                              Defi ciencies) (Cen-antes, Esperanza) (Entered: 07/31/2023)

                                 CJ 7
                                                                                             O l d er t o D cb t o i t s) t o Sh ow C a use

                                              The Debtor(s) is to Show Cause why the order for relief should not be set aside, these bankruptcy proceedings d i sm issed
                                              and, if applicable, the dischaige be denied or revoked for failure to provide Schedules A/ B-J. Siimmar}' of Yo u r A ssets
                                              and Liabilities and Cert ain Statist ical Infomi ation, Si aleiiK ii t of Financial A ffairs, StatciiK nl of Ciur ent Monthly Income,
                                              Declaration/Verifi cation of Scliediiles, Dcbtor(s) Evidence of Employer Payments (60 day's) or Aff idavit of Dcblor(s)
                                              Evidence of NO Employer Payments,, This order will be deemed vacated upon timely compliance with its provisions.

                                              It is so ORDERED by is/ Brian T. Fenimore.


                                             SPEC IA L NOT E - Fi llabl e ver si ons of all Schedules and Statements can be found on the Federal Judiciary Website
                                             wmv.uscour ts.gov/for ms/bankr uptcy-for nis


                                              Incomplete Filings due by 8/ 14/2023.Statcment of Intent due by 8/30/2021

                                                                          Tile Court will serve this Order On part ies not receiving electron ic not i ce.
                                                                This Notice of Electronic Filing is the Off icial ORDERf or this enliy. No document is allached.

                                             (Cervantes, Esperanza)

 0 7/ 3 1/2 023                              (Entered: 07/3 1/2023)

                                 Q 6         C ler k ' s N o t i ce to D eb t o r fsJ


                                             To receive a Dischaige, each debtor is required to complete a second course called the instructional course con ce rn in g
                                             personal fi nancial management or commonly know i as Debtor Education aft er they have fi led their case.

                                             If proof of completion is not received by the last day to obj ect to thedischaigeof the debtor (Chapter 7 bankniptcy), or by
                                             the fi ling dateof the motion for dischaige (Cliapter 13 bankruptcy), the case may be closed withNO Discharge. Please
                                             contact the Clerk's Offi ce for more infomiation regarding this requirement.
0 7/3 1/ 2023
Case 23-41037-can7                         Doc 22-4 Filed 08/15/23 Entered 08/15/23 11:46:41                                                                         Desc
                                                  Exhibit 4 Page 2 of 2


         C a s e 2 3 -4 1 0 3 7 -c a n 7      D oc 1 1              F ile d 0 7/ 3 1/ 2 3      E n t e re d 0 7 / 3 1/ 2 3 1 6 :2 8 :2 0         D e s c M a in
                                                                  D o cu m e nt             Page 2 of 2
                                           If the debtor(s) subsequently nie(s) a motion to reopen the case to allow fi ling of the pro of, the debtor(s) must pay tlie full
                                           reopeningfi ling fee.
                                           (Cervantes, Espcranza) (Entered: 07/3 1/2023)

                             <3 5          C l er k ' s N ot i ce t o P r o Se D eb t o r


                                           There may be certain stuations in wliiclt the Court may need to contact you regarding your case. Because of this, it is
                                           important your address and phone number are kept updated with the Court. The change of address or telephone n um b er
                                           form can be found on our website athttps://w m niow.uscoiirts.gov/forms/. You can submit these changes througli written
                                           notifi cation sent to U.S. Bankr uptcy Cour t, 400 E. 9th Street Room 1510, Kansas City, MO £4106.

                                           Please note the Qerk’s Offi ce cannot give legal advice such as how to prepare documents or explain how your rights are
                                           aff ected by the bankruptcy.

                                           The Cowl will ser ve a copy of this Notice on thepro se debloifs) .


07/3 1/ 2023                               (Cervantes, Esperanza) (Entered; 07/31/2023)

                             Oi            Application to have the Chapter 7 case opening fi ling fee waiw d Filed by Jessica Lynn Abarca . (Cervantes, Espcranza)
0 7/3 1/ 2 023                (3 pgs)      (Entered: 07/3 1/2023)

                             0 3           No 'Declaratiqi Re: Electronic Filing is required for pro se Debtor(s). A completed Off icial B 12 1Form is attach ed .
0 7/ 3 1/2 023                 (1 pg)      (Cervantes, Esperanza) (Entered; 07/31/2023)

                            0 2
0 7/ 3 1/ 2 023                ( I pg)     Debtor(s) Certificate of Cre dit Counseling (Cervantes, Esperanza (ert)) (Entered: 07/31/2023)

                            Oi
07/ 3 1/ 2 023               ( 16 pgs)     Chapter 7 Voluntary Petition for Individuals. () (Cervantes, Esperanza) (Entered: 07/3 1/ 2023)




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                                                                                                        document whichvvae.electrbnleailyflied..wilhtheU n ited S ta te s
                                                                                                        BankruptcyCourt fdr theWestern District of Missouri.
                                                                                                                                2 ,50y-J algeA.Wymore-Wynn,Clerk
                                                                                                                                   ~/        x''^\ --<1BePutvClerk
